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                                        Case No. 22-16993

                                                  In the

         United States Court of Appeals
                                                  for the

                                     Ninth Circuit

             PATRICK CALHOUN; ELAINE CRESPO; MICHAEL HENRY;
            CORINICE WILSON; RODNEY JOHNSON; CLAUDIA KINDLER,
                             Plaintiffs-Appellants,

                                                    v.

                                           GOOGLE LLC,
                                          Defendant-Appellee.
                              _______________________________________
     On Appeal from the United States District Court for the Northern District of California
 (Oakland), Case No. 4:20-cv-05146-YGR ꞏ Honorable Yvonne Gonzalez Rogers, District Judge

           PLAINTIFFS-APPELLANTS’ OPPOSITION TO
       DEFENDANT-APPELLEE’S MOTION TO SEAL GOOGLE’S
               MOTION FOR LIMITED REMAND

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                                 INTRODUCTION

      Plaintiffs-Appellants (“Plaintiffs”) respectfully oppose the motion to seal (the

“Sealing Motion”) filed by Defendant-Appellee Google LLC (“Google”) related to

Google’s Motion for a Limited Remand Under Federal Rule of Appellate Procedure

12.1. Google seeks to seal information that it claims—based merely on its own say-

so and speculation—might affect Google’s competitive standing and expose it to

increased security risks if publicly revealed. But the information can be generally

categorized as merely three numbers (two of which relate to Google’s preservation

obligations in this case) and a couple data source names. This Court should deny

Google’s Sealing Motion because (1) Google’s contentions should not overcome

this Court’s strong presumption in favor of public access; and (2) Google’s Sealing

Motion is inconsistent with similar rulings by at least one other court in this Circuit.

                                    ARGUMENT

A.    Google’s Motion to Seal Is Inconsistent with this Court’s Strong
      Presumption in Favor of Public Access

      The Ninth Circuit has a “strong presumption” of public access even if the

documents were sealed in the District Court:

      This Court has a strong presumption in favor of public access to
      documents. Therefore, except as provided in (d) below, the
      presumption is that every document filed in or by this Court (whether
      or not the document was sealed in the district court) is in the public
      record unless this Court orders it to be sealed.




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See Ninth Circuit Rule 27-13(a) (Sealed Documents) (emphasis added). Thus,

Circuit Advisory Committee Note to Rule 27-13 states that motions to file

documents under seal “are therefore discouraged.” Consequently, it is not dispositive

that Magistrate Judge van Keulen ordered sealing of the same information in the

district court. Calhoun, et al. v. Google LLC, Case No. 4:20-cv-05146 (N.D. Cal.),

Dkt. No. 966.1 Google must still overcome the strong presumption in favor of access

to court records in this Court, regardless of any previous sealing.

        Although Google acknowledges that this Court applies one of two tests (a

stringent “compelling reasons” test or a more permissive “good cause” test), it

incorrectly argues for application of the “good cause” test. Sealing Motion at 2. The

“compelling reasons” test should apply here, because the subject of Google’s sealing

motion involves the highly contested “Preservation Orders” that are the subject of

the underlying Rule 12.1 Motion for Limited Remand (the “Motion for Limited

Remand,” Circuit Dkt. 8). The preservation of relevant class-wide evidence has a

direct effect on the merits of the case, as noted by Magistrate Judge van Keulen when

she directed the parties to ensure that their objections to the underlying preservation

plan adequately address liability, damages, and class certification. Dkt. No. 639.

Google’s efforts to rescind those Preservation Orders necessarily involves these

issues, and they are central and dispositive, not collateral or merely tangentially


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    Docket Numbers refer to the District Court docket unless otherwise stated.

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related to the case. For instance, Google’s Motion for Limited Remand admits that

Magistrate Judge van Keulen ordered preservation, “because Appellants argued it

might be relevant to the putative class.” And central to the putative class it is, because

the mapping and linking tables that Google wants un-preserved on remand help

Appellants show, by way of example, Google’s ability to tie signed in data to signed

out data, which is a critical element of Appellants’ arguments that Google is

surveilling class members across the web. Put differently, the issue of whether

signed-in and signed-out identifiers can be linked to a specific user is, and has been

throughout this case, hotly disputed by the parties and correlates strongly to the

merits of the case.

      Moreover, Magistrate Judge van Keulen’s Order on Google’s Motion for

Relief Regarding Preservation (attached as Addendum A to Google’s Motion for

Limited Remand) further sheds light on why Google’s Motion for Limited Remand

to reduce its preservation obligations is not merely tangentially related to the case.

That Order made clear that Google’s preservation obligations were the subject of

“voluminous briefing and multiple hearings that resulted in issuance of the

Preservation Orders.” Magistrate Judge van Keulen further described “[t]he

exhaustive and exhausting history of development of the Preservation Orders for the

purpose of identifying and preserving relevant evidence . . . the Preservation Orders

reflect careful balancing of the burdens and benefits of preservation of relevant



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data.” Because the subject of Google’s sealing motion involves the preservation of

highly relevant material, which based on the above should be considered a

dispositive, central, and merits-based issue, this Court should apply the more

stringent “compelling reasons” test. See Ctr. for Auto Safety v. Chrysler Grp., LLC,

809 F.3d 1092, 1099 (9th Cir. 2016) (“The focus in all of our cases is on whether the

motion at issue is more than tangentially related to the underlying cause of action . .

. plenty of technically non-dispositive motions—including routine motions in

limine—are strongly correlative to the merits of a case.”).

      Google argues that it can meet both the “compelling reasons” test and the

“good cause” test, because disclosure of the information it seeks to seal could (1)

provide competitors insight into Google’s business; and (2) “bad actors” could target

Google’s systems based on where and how Google’s data is stored. But those two

overarching assertions are based on Google’s speculation and say-so, neither of

which should be persuasive. Indeed, the attorney declaration accompanying

Google’s sealing motion largely parrots the same assertions without additional

support or context. See Ctr. for Auto Safety, 809 F.3d at 1096–97 (“Under this

stringent standard, a court may seal records only when it finds ‘a compelling reason

and articulate[s] the factual basis for its ruling, without relying on hypothesis or

conjecture.’”) (quoting Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172,

1178–79 (9th Cir.2006)) (emphasis added). Additionally, the attorney declaration



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highlights the speculative nature of Google’s assertions by acknowledging that

individuals or competitors “may” be able to gain insight into Google’s business,

“may” abuse the information, or “may” seek to use the information to target

Google’s systems. The lack of factual basis for such possibilities should not meet

the “compelling reasons” standard, and the void is even more conspicuous based on

Google’s acknowledgement of “the factual nature of the inquiry” in its sealing

motion.

      The same deficiency should not satisfy the “good cause” test, if this Court

applies that standard (it should not), because Google still has not made a sufficient

showing. The categories of information that Google seeks to seal in its Motion for

Limited Remand and the attendant Addendum A can be generally described as:

      •       the projected cost of Google’s preservation obligations in this case;

      •       the number of mapping and linking tables used to connect data

              identifiers to each other;

      •       the amount of data storage required for Google’s preservation

              obligations in this case; and

      •       two internal Google names for data sources.

But Google has also not explained what irreparable harm would come simply from

revealing three numbers (two of which relate to Google’s preservation obligations

in this case) and a couple data source names. Google just makes the conclusory


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statements that it “may” be harmed without explaining why revealing these numbers

and names would matter. Plaintiffs do not wish any irreparable harm to befall

Google. But at the same time, the Court should not seal largely innocuous

information just on Google’s say-so and conjecture regarding possible bad actors. It

is difficult to accept Google’s assertions at face value regarding possible harm when

the information it seeks to seal is merely three numbers and two data source names.

B.    Google’s Motion to Seal is Inconsistent with Prior Rulings in Rodriguez
      v. Google, 3:20-CV-4688-RS (N.D. Cal.)

      In an unrelated privacy case against Google pending in this Circuit, Magistrate

Judge Alex Tse has repeatedly denied Google’s many motions to seal information

nearly identical to the information Google seeks to seal here. See, e.g., Rodriguez

Dkt. No. 108 (denying motion to seal confidential business information, because

Google did not support its conclusory argument that specific prejudice or harm will

result from public disclosure); Rodriguez Dkt. No. 184 (denying in part motion to

seal Google’s confidential information); Rodriguez Dkt. No. 185 (denying motion

to seal estimated costs for storing data, because Google did not identify any

specific prejudice or harm that would result from public disclosure of the numbers);

Rodriguez Dkt. No. 186 (denying in part motion to seal at Dkt. Nos. 152 and 176);

Rodriguez Dkt. No. 197 (denying motion to seal at Dkt. No. 187); Rodriguez Dkt.

No. 223 (denying in part motion to seal at Dkt. No. 200); Rodriguez Dkt No. 225

(denying motion to seal at Dkt. Nos. 210 and 212).

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      Pertinent to Google’s motion to seal numbers concerning the cost and amount

of preservation here, Magistrate Judge Tse’s order denying a similar motion to seal

in Rodriguez Dkt. No. 185 made public the following numbers:

      •      that Google “app measurement logs record 135 billion entries per day,
             on average”;

      •      that just “56 days’ worth of data totals over 27 petabytes of data per
             day”;

      •      that storing two years’ worth of such data would cost “$3 million, and
             three years would cost $6 million”; and

      •      that Plaintiffs and Google would need “156 full size server rack
             cabinets to hold one year’s worth” of raw data

See Rodriguez Dkt. No. 193 at 4 (emphasis in original). Notwithstanding Magistrate

Judge van Keulen’s decision to seal similar numbers in the district court here,

Appellants respectfully suggest that this Court should use its discretion to reject

sealing, as in Judge Tse’s order.

                                    CONCLUSION

      Because Google has not met its burden to overcome this Circuit’s strong

presumption in favor of public access regardless of whether the Court applies the

“compelling reasons” test or “good cause” test, Plaintiffs respectfully request that

this Court deny Google’s Motion to Seal Google’s Motion for Limited Remand.




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Dated: January 30, 2023               Respectfully Submitted,

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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that this filing complies with the requirements of Fed. R. App.

P. 27(d) and the word count is 1,624. This filing does not exceed 20 pages. In

compliance with Fed. R. App. P. 32(a), the typeface is Times New Roman, 14-point.



Dated: January 30, 2023                     /s/ David A. Straite
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                         CERTIFICATE OF SERVICE

      I, David A. Straite, hereby certify that on January 30, 2023, I caused to be

electronically filed the foregoing document with the Clerk of the Court for the United

States Court of Appeals for the Ninth Circuit using the CM/ECF system which will

send notification of such filing to all counsel of record registered in the CM/ECF

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